                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE MIDDLE DISTRICT OF NORTH CAROLINA

GUILFORD COLLEGE, GUILFORD COLLEGE                                  )
INTERNATIONAL CLUB, THE NEW SCHOOL,                                 )
FOOTHILL-DE ANZA COMMUNITY COLLEGE                                  )
DISTRICT, HAVERFORD COLLEGE, THE                                    )
AMERICAN FEDERATION OF TEACHERS,                                    )
JIA YE, and SEN LI,                                                 )
                                                                    )
                                  Plaintiffs,                       )
                                                                    )
                         v.                                         )                 1:18CV891
                                                                    )
KEVIN MCALEENAN, 1 U.S. DEPARTMENT OF                               )
HOMELAND SECURITY, L. FRANCIS CISSNA,                               )
and U.S. CITIZENSHIP AND IMMIGRATION                                )
SERVICES,                                                           )
                                                                    )
                                  Defendants.                       )


                         MEMORANDUM OPINION AND ORDER

LORETTA C. BIGGS, District Judge.

        Plaintiffs initiated this action seeking declaratory and injunctive relief for Defendants’

alleged violations of the Administrative Procedure Act (the “APA”), 5 U.S.C. § 701 et seq. (ECF

Nos. 1, 14.) Specifically, Plaintiffs’ lawsuit relates to the U.S. Citizenship and Immigration

Services’ (“USCIS”) issuance and application of the August 9, 2018 Policy Memorandum, PM-

602-1060.1, titled “Accrual of Unlawful Presence and F, J, and M Nonimmigrants,” (the

“August 2018 Policy Memorandum” or the “Policy Memorandum”). (ECF Nos. 1, 14.) On

January 28, 2019, the Court entered an Order temporarily restraining Defendants from applying

the August 2018 Policy Memorandum to the individual Plaintiffs, Jia Ye (“Ye”) and Sen Li


1Plaintiffs’ Complaint names Kirstjen Nielsen, former Secretary of Homeland Security, as a Defendant in this
action. (ECF Nos. 1, 14.) Secretary Nielsen resigned during the pendency of this action, and Kevin McAleenan
currently serves as Acting Secretary of Homeland Secretary. Pursuant to Rule 25(d) of the Federal Rules of Civil
Procedure, Acting Secretary McAleenan is hereby substituted as a party to this action. See Fed R. Civ. P. 25(d).




       Case 1:18-cv-00891-LCB-JEP Document 45 Filed 05/03/19 Page 1 of 29
(“Li”) (collectively, “Individual Plaintiffs”), pending the Court’s resolution of the below

motions. (ECF No. 36.)

        Before the Court are: (i) Plaintiffs’ Motion for Preliminary Injunction and Partial

Summary Judgment, (ECF No. 15); and (ii) Defendants’ Motion to Dismiss, (ECF No. 30). 2

The Court heard oral arguments on April 4, 2019. For the reasons set forth herein, the Court

grants in part and denies in part Plaintiffs’ Motion for Preliminary Injunction and Partial

Summary Judgment, and Defendants’ Motion to Dismiss will be denied.

I.      BACKGROUND

        Plaintiffs’ Complaint alleges that, for over twenty years, F, J, and M nonimmigrant visa

holders 3 who entered the United States for “duration of status,” as opposed to a fixed time

period, would begin to accrue unlawful presence 4 “on the day after a government official or

immigration judge adjudicates the individual as out-of-status.” (ECF No. 14 ¶¶ 5–6.) On

August 9, 2018, Defendants issued the subject Policy Memorandum 5 which provides, in part,


2Plaintiffs also filed a Motion to Expand the Scope of the Temporary Restraining Order, (ECF No. 39), which
was rendered moot at the April 4, 2019 hearing. (April 4, 2019 Hearing Transcript (“Tr.”) at 2.)

3 An F visa holder is a nonimmigrant student who enters the United States to pursue an educational program.
(ECF No. 14 ¶ 74; see also ECF No. 14-1 at 2.) An M visa holder is a nonimmigrant student who enters the
United States “to study at a vocational or technical school.” (ECF No. 14 ¶ 75; see also ECF No. 14-1 at 2.)
“Students on an F [or M] visa must be enrolled at an institution that participates in the Student and Exchange
Visitor Program (SEVP).” (ECF No. 14 ¶¶ 74, 75.) A J visa holder is an individual who enters the United States
to participate in an “Exchange Visitor Program” authorized by the U.S. Department of State. (ECF No. 14 ¶ 79;
see also ECF No. 14-1 at 2.)

4 Under the Illegal Immigration Reform and Immigrant Responsibility Act (the “IIRIRA”), “an alien is deemed to

be unlawfully present in the United States if the alien is present in the United States after the expiration of the
period of stay authorized by the Attorney General or is present in the United States without being admitted or
paroled.” (ECF No. 14 ¶¶ 85–86 (quoting 8 U.S.C. § 1182(a)(9)(B)(ii)).)

5 Plaintiffs allege that prior to issuance of the new policy set forth in the August 2018 Policy Memorandum,
“Defendants posted a memorandum (dated May 10, 2018) indicating an intent to revise longstanding policy and
legal interpretation regarding the definition and calculation of ‘unlawful presence.’” (ECF No. 14 ¶ 96 (citing
ECF No. 14-2).)


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       Case 1:18-cv-00891-LCB-JEP Document 45 Filed 05/03/19 Page 2 of 29
that, for F, J, and M nonimmigrant visa holders, the USCIS was “changing its policy on how to

calculate unlawful presence” under the Immigration and Nationality Act (the “INA”). (ECF

No. 14-1 at 4; see ECF No. 14 ¶ 97.) Plaintiffs allege that “[p]ursuant to this new policy, USCIS

will start the unlawful presence clock not on the date that an individual on an F, J, or M visa is

adjudicated as being out-of-status. Instead, USCIS will backdate ‘unlawful presence’ to [begin]

the date on which the underlying facts that gave rise to the status violation occurred.” (ECF

No. 14 ¶ 98.) Plaintiffs further allege that this action is harmful because any individual who is

“unlawfully present” in the United States for a period longer than 180 days is barred from

reentry into the United States for a period of either three or ten years. 6 (Id. ¶ 87 (citing 8 U.S.C.

§ 1182(a)(9)(B)(i)(I)).) Plaintiffs allege that “many more international students and employees

will be subject to a three- or ten-year reentry bar as compared with the previous regulatory

framework, even in the absence of any bad faith or . . . knowing conduct.” (Id. ¶ 138 (footnote

added).)

        Plaintiffs’ Complaint alleges four causes of action, namely, that the August 2018 Policy

Memorandum is invalid because: (1) the Policy Memorandum was issued without complying

with the rulemaking procedures mandated by the APA; (2) the Policy Memorandum is arbitrary

and capricious under the APA; (3) the Policy Memorandum conflicts substantively with the

statutory text of the INA; and (4) the Policy Memorandum violates the Due Process Clause of

the Fifth Amendment. (Id. ¶¶ 185–221.) Plaintiffs’ Motion for Preliminary Injunction and

Partial Summary Judgment is based only on the first and third causes of action. (ECF No. 15 at

6The INA provides that any individual who is “unlawfully present in the United States for a period of more than
180 days but less than 1 year,” is barred from reentry into the United States for three years. 8 U.S.C. §
1182(a)(9)(B)(i)(I). The INA further provides that an individual who is “unlawfully present in the United States
for one year or more” is barred from reentry for ten years. Id. § 1182(a)(9)(B)(i)(II).


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       Case 1:18-cv-00891-LCB-JEP Document 45 Filed 05/03/19 Page 3 of 29
2.) Defendants, on the other hand, move to dismiss Plaintiffs’ Complaint for lack of jurisdiction

pursuant to Rule 12(b)(1) of the Federal Rules of Civil Procedure, or, in the alternative, for

failure to state a claim upon which relief may be granted, pursuant to Rule 12(b)(6). (ECF No.

30.)

II.    DEFENDANTS’ MOTION TO DISMISS

       A.      Legal Standards

       A Rule 12(b)(1) motion to dismiss for lack of subject-matter jurisdiction raises the

question of “whether [the plaintiff] has a right to be in the district court at all and whether the

court has the power to hear and dispose of [the] claim.” Holloway v. Pagan River Dockside Seafood,

Inc., 669 F.3d 448, 452 (4th Cir. 2012). The burden of establishing subject-matter jurisdiction is

on the plaintiff. Evans v. B.F. Perkins Co., 166 F.3d 642, 647 (4th Cir. 1999). When evaluating a

Rule 12(b)(1) motion, the court may consider evidence outside the pleadings and should grant

the motion “only if the material jurisdictional facts are not in dispute and the moving party is

entitled to prevail as a matter of law.” Id. (quoting Richmond, Fredericksburg & Potomac R.R. Co. v.

United States, 945 F.2d 765, 768 (4th Cir. 1991)). Once a court determines it lacks subject-matter

jurisdiction over a claim, the claim must be dismissed. See Jones v. Calvert Grp., Ltd., 551 F.3d

297, 301 (4th Cir. 2009).

       A motion made under Rule 12(b)(6) challenges the legal sufficiency of the facts in the

complaint, specifically whether the complaint satisfies the pleading standard set forth in Rule 8

of the Federal Rules of Civil Procedure. Francis v. Giacomelli, 588 F.3d 186, 192 (4th Cir. 2009).

Rule 8(a)(2) requires a “short and plain statement of the claim showing that the pleader is

entitled to relief.” Fed. R. Civ. P. 8(a)(2). While a complaint need not contain detailed factual



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       Case 1:18-cv-00891-LCB-JEP Document 45 Filed 05/03/19 Page 4 of 29
allegations, “a plaintiff’s obligation to provide the ‘grounds’ of his ‘entitle[ment] to relief’

requires more than labels and conclusions, and a formulaic recitation of the elements of a cause

of action will not do.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007) (alteration in original).

Rather, the “[f]actual allegations must be enough to raise a right to relief above the speculative

level.” Id. In other words, to survive a Rule 12(b)(6) motion to dismiss, “a complaint must

contain sufficient factual matter, accepted as true, to ‘state a claim to relief that is plausible on its

face.’” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Twombly, 550 U.S. at 570).

        B.      Discussion

        Defendants challenge this Court’s jurisdiction based on the threshold issues of standing

and ripeness, 7 each of which the Court addresses, in turn, below.

                         1. Standing

        “To establish standing under Article III of the Constitution, a plaintiff must ‘allege (1) an

injury that is (2) fairly traceable to the defendant’s allegedly unlawful conduct and that is (3)

likely to be redressed by the requested relief.’” Bostic v. Schaefer, 760 F.3d 352, 370 (4th Cir. 2014)

(quoting Lujan v. Defs. of Wildlife, 504 U.S. 555, 590 (1992)). Where, as here, Plaintiffs sue to

vindicate procedural rights—such as the right to have proposed regulatory action comply with

the requirements of the APA—“they must establish the agency action threatens their concrete

interest.” Mendoza v. Perez, 754 F.3d 1002, 1010 (D.C. Cir. 2014). “Once that threshold is

satisfied, [however,] the normal standards for immediacy and redressability are relaxed.” Id.; see

Hodges v. Abraham, 300 F.3d 432, 444 (4th Cir. 2002) (“Pursuant to the Court’s decision in

[Lujan], a person entitled to a ‘procedural right,’ . . . can thereby possess Article III standing

7Defendants’ opposition to Plaintiffs’ motion for preliminary injunction and partial summary judgment are also
based solely on the jurisdictional issues of standing and ripeness. (See ECF No. 32 at 15–24.)


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       Case 1:18-cv-00891-LCB-JEP Document 45 Filed 05/03/19 Page 5 of 29
‘without meeting all the normal standards for redressability and immediacy.’” (quoting Lujan,

504 U.S. at 572 n.7)). “[I]f the plaintiffs can demonstrate a causal relationship between the final

agency action and the alleged injuries, the court will assume[ ] the causal relationship between

the procedural defect and the final agency action.” Mendoza, 754 F.3d at 1010 (second alteration

in original) (internal quotation marks omitted).

         While the instant action has been brought by a number of plaintiffs, 8 “the Supreme

Court has made it clear that ‘the presence of one party with standing is sufficient to satisfy

Article III’s case-or-controversy requirement.” Bostic, 760 F.3d at 370 (quoting Rumsfeld v. Forum

for Acad. & Institutional Rights, Inc., 547 U.S. 47, 52 n.2 (2006)). Here, the Court finds that

Individual Plaintiffs—Ye and Li— have standing to sue. Specifically, Ye and Li have sufficiently

alleged injury arising from the August 2018 Policy Memorandum. Both individual Plaintiffs are

foreign nationals who entered the United States on F-1 nonimmigrant student visas, and

subsequently either graduated, or withdrew, from school. (ECF No. 16-1 ¶¶ 4, 10; ECF No. 16-

2 ¶¶ 4, 10.) Ye and Li have been recruited by the U.S. Army to enter the Military Accessions

Vital to National Interest (“MAVNI”) program because they both “possess language skills in

high demand by the [U.S.] military.” (ECF No. 16-1 ¶ 6; ECF No. 16-2 ¶ 6.) In exchange for

their enlistment in the U.S. Army through the MAVNI program, Individual Plaintiffs would be

granted United States citizenship. (ECF No. 16-1 ¶ 6; ECF No. 16-2 ¶ 6.) Ye and Li have each

signed an enlistment contract with the Army and they are awaiting orders to report to Basic




8 Plaintiffs
          in this action are institutions that enroll international students; the international students association at
one of those colleges; the American Federation of Teachers; and two foreign national individuals who allegedly
entered the United States on F-1 visas. (See generally ECF No. 14 ¶¶ 20–64.)



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        Case 1:18-cv-00891-LCB-JEP Document 45 Filed 05/03/19 Page 6 of 29
Combat Training. 9 (ECF No. 16-1 ¶¶ 7–8; ECF No. 16-2 ¶¶ 7, 9.) Individual Plaintiffs were

“told by the Army not to leave the United States while [they] wait for basic training.” (ECF No.

16-2 ¶ 8; see ECF No. 16-1 ¶ 9.)

       Defendants argue that because, to date, neither Ye nor Li has received an official

determination that he is out of status, “[it] remains entirely speculative whether [Individual

Plaintiffs] will ever find themselves inadmissible” under the INA. (ECF No. 32 at 16.)

Defendants further argued at the April 4 hearing that “something actually needs to happen to

[Individual Plaintiffs] before they can go into court.” (Tr. at 43.) However, the Supreme Court

has made clear that “where threatened action by government is concerned, we do not require a

plaintiff to expose himself to liability before bringing suit to challenge the basis for the threat.”

MedImmune, Inc. v. Genentech, Inc., 549 U.S. 118, 128–29 (2007). Here, pursuant to the new policy

set forth in the Policy Memorandum which started the accrual of unlawful presence for out-of-

status nonimmigrants on August 9, 2018, it is likely that Individual Plaintiffs are presently

accruing unlawful presence given that they are no longer enrolled in a course of study. (ECF

No. 14-1 at 4–5.) Ye’s 180-day clock expired on February 5, 2019, and Li’s expired on February

20, 2019. (Compare ECF No. 16-1 ¶ 10, and ECF No. 16-2 ¶ 10, with ECF No. 14-1 at 4–5.)

Consequently, Ye and Li are likely to be subject to at least a three-year reentry bar if they are

later adjudged to be out of status. Therefore, based on the allegations and the evidence

presently before the Court, the change in policy set forth in the August 2018 Policy

Memorandum directly affects Ye and Li’s concrete interest, i.e., their ability to depart the United

States and return without imposition of a reentry bar. Moreover, this could occur to each

9Ye signed his Army enlistment contract on November 24, 2015, (ECF No. 16-2 ¶ 7), and Li signed his Army
enlistment contract on January 14, 2016, (ECF No. 16-1 ¶ 7).


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      Case 1:18-cv-00891-LCB-JEP Document 45 Filed 05/03/19 Page 7 of 29
individual Plaintiff absent any notice that departing the United States would result in a bar to

their reentry. Accordingly, the Court concludes that Individual Plaintiffs have sufficiently

alleged harms to their concrete interests traceable to the August 2018 Policy Memorandum

which will likely be redressed by the relief requested by Plaintiffs. Thus, at this preliminary

phase, Individual Plaintiffs have met their burden of demonstrating standing to challenge the

August 2018 Policy Memorandum in this action. See, e.g., NAACP v. Trump, 298 F. Supp. 3d

209, 224 n.9 (D.D.C. 2018) (holding that an undocumented individual to whom the government

had extended deferred action under the Deferred Action for Childhood Arrivals (“DACA”)

policy “clearly satisfies the irreducible constitutional minimum of standing” to challenge the

government’s rescission of the DACA program). See also Washington v. Trump, 847 F.3d 1151,

1159 (9th Cir.) (citing Lujan, 504 U.S. at 561) (“At this very preliminary stage of the litigation,

the [Plaintiffs] may rely on the allegations in their Complaint and whatever other evidence they

submitted in support of their TRO motion to meet their burden.”), cert. denied Golden v.

Washington, 138 S. Ct. 448 (2017).

       In addition to the individual Plaintiffs, an organizational plaintiff may have standing to

sue in two ways: (i) on its own behalf (organizational standing); or (ii) on behalf of its members

(representational or associational standing). See White Tail Park, Inc. v. Stroube, 413 F.3d 451, 458

(4th Cir. 2005). A plaintiff may establish organizational standing “when it seeks redress for an

injury suffered by the organization itself.” Id. An injury is cognizable, for organizational

standing purposes, when the plaintiff alleges that “a defendant’s practices have hampered an

organization’s stated objectives causing the organization to divert its resources as a result.”

Action NC v. Strach, 216 F. Supp. 3d 597, 616 (M.D.N.C. 2016) (citing Havens Realty Corp. v.



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      Case 1:18-cv-00891-LCB-JEP Document 45 Filed 05/03/19 Page 8 of 29
Coleman, 455 U.S. 363, 379 (1982)). The American Federation of Teachers (the “AFT”) alleges

that “[s]ince the new DHS rules were announced, [it] has invested resources to address and

mitigate the immediate and imminent harm to its members.” (ECF No. 16-4 ¶ 14 (emphasis

added).) However, there are no allegations by the AFT to reflect whether such investment

constitutes a diversion of resources away from other advocacy activity. See Action NC, 216 F.

Supp. 3d at 616. Nor are there allegations that such investment has impaired the AFT’s ability

to advance its mission by causing a drain on its resources. See Havens Realty Corp., 455 U.S. at

379 (explaining that where defendant’s practices “have perceptibly impaired” an organization’s

mission, causing a drain on the organization’s resources, “there can be no question that the

organization has suffered injury in fact”); Lane v. Holder, 703 F.3d 668, 674 (4th Cir. 2012) (“An

organization may suffer an injury in fact when a defendant’s actions impede its efforts to carry

out its mission.”). As a result, the AFT has failed to sufficiently allege facts necessary to

demonstrate organizational standing.

       Although the AFT has failed to establish standing in its own right, it may establish

“representational standing” to sue on its members’ behalf by alleging facts that demonstrate the

following: “(1) its own members would have standing to sue in their own right; (2) the interests

the organization seeks to protect are germane to the organization’s purpose; and (3) neither the

claim nor the relief sought requires the participation of individual members in the

lawsuit.” S. Walk at Broadlands Homeowner’s Ass’n, Inc. v. OpenBand at Broadlands, LLC, 713 F.3d

175, 184 (4th Cir. 2013) (quoting Md. Highways Contractors Ass’n v. Maryland, 933 F.2d 1246, 1251

(4th Cir. 1991)). Applying Supreme Court precedent, the Fourth Circuit has held that the first

requirement of representational standing—demonstrating that an organization’s members would



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      Case 1:18-cv-00891-LCB-JEP Document 45 Filed 05/03/19 Page 9 of 29
have standing to sue in their own right—requires an organization to “make specific allegations

establishing that at least one identified member had suffered or would suffer harm.” Id. (quoting

Summers v. Earth Island Inst., 555 U.S. 488, 498 (2009)). In this case, “AFT is a national labor

union . . . [with] over 3,000 affiliated local unions 10 . . . throughout the United States and three

[of its] territories.” (ECF No. 16-4 ¶ 3 (footnote added).) Its members include individuals

present in the United States on F and J visas, and its “mission includes advancing the interests of

its members, including supporting commonsense policies that promote immigration

opportunities for individuals who wish to serve as teachers.” (ECF No. 14 ¶¶ 47–48, 181–82.)

“To fulfill this mission, AFT advocates for its members’ interests before government bodies and

in court.” (Id. ¶ 182.) The AFT has submitted the declarations of three individuals, each of

whom are members of affiliated local unions who are presently in the United States on an F-1 or

J-1 visa. (ECF Nos. 16-5, 16-6, 16-7.) Each declarant fears that he or she would suffer harm

under the new policy for calculating unlawful presence as set forth in the August 2018 Policy

Memorandum. (ECF Nos. 16-5, 16-6, 16-7.) Further, the interests the AFT seeks to protect in

this action are germane to its stated purpose of “advocating for the civil rights of its members.”

(ECF No. 14 ¶¶ 47–49; ECF No. 16-4 ¶ 5.) Also, the Complaint alleges that “[n]either the

claims asserted nor the relief requested in this lawsuit requires participation of individual AFT

members.” (ECF No. 14 ¶ 183.) The Court therefore finds that AFT has alleged sufficient facts

to demonstrate that it has representational standing.




10 According to the declaration of Rhonda Weingarten, President of the AFT, an individual becomes a member of

the AFT “by joining an AFT affiliated local union, a council of locals or, in some cases, a statewide affiliate.”
(ECF No. 16-4 ¶ 5.)


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      Case 1:18-cv-00891-LCB-JEP Document 45 Filed 05/03/19 Page 10 of 29
       In light of the Court’s findings that Individual Plaintiffs and the AFT have standing

which is sufficient for this Court to exercise jurisdiction over this action, at this time, the Court

need not reach the issue whether the remaining plaintiffs—Guilford College, Guilford College

International Club, The New School, Foothill-De Anza Community College District, and

Haverford College—likewise have standing. See Bostic, 760 F.3d at 370; Ezell v. City of Chicago,

651 F.3d 684, 696 n.7 (7th Cir. 2011) (“Where at least one plaintiff has standing, jurisdiction is

secure and the court will adjudicate the case whether the additional plaintiffs have standing or

not.” (citing Vill. of Arlington Heights v. Metro. Hous. Dev. Corp., 429 U.S. 252, 264 (1977))).

                       2. Ripeness

       With respect to the issue of ripeness, Defendants argue, in pertinent part, that this matter

is not ripe given that that “there has not yet been final agency action” as to Individual Plaintiffs

and “it remains entirely speculative” whether these Plaintiffs will be subject to the Policy

Memorandum. (ECF No. 32 at 21, 22.) Plaintiffs argue, on the other hand, that they “do not

challenge any particular, individual unlawful-presence determinations that have yet to take

place[;] [r]ather, they bring an APA challenge against USCIS’s global, binding policy,

memorialized in the August 2018 directive,” and, as such, this matter is ripe for adjudication.

(ECF No. 33 at 6.) The Court agrees with Plaintiffs.

       “Ripeness is a justiciability doctrine designed to prevent the courts, through avoidance of

premature adjudication, from entangling themselves in abstract disagreements over

administrative policies, and also to protect the agencies from judicial interference until an

administrative decision has been formalized and its effects felt in a concrete way by the

challenging parties.” Nat’l Park Hosp. Ass’n v. Dep’t of the Interior, 538 U.S. 803, 807–08 (2003)



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     Case 1:18-cv-00891-LCB-JEP Document 45 Filed 05/03/19 Page 11 of 29
(internal quotation marks omitted). Thus, ripeness is essentially a question of timing. Blanchette

v. Conn. Gen. Ins. Corps., 419 U.S. 102, 140 (1974).

       In evaluating ripeness, courts must consider “(1) the fitness of the issues for judicial

decision and (2) the hardship to the parties of withholding court consideration.” Cooksey v.

Futrell, 721 F.3d 226, 240 (4th Cir. 2013) (quoting Nat’l Park Hosp. Ass’n, 538 U.S. at 808). With

respect to fitness, “[a] case is fit for judicial decision when the issues are purely legal and when

the action in controversy is final and not dependent on future uncertainties.” Miller v. Brown, 462

F.3d 312, 319 (4th Cir. 2006). In this case, Plaintiffs’ claims, which relate to the validity of the

August 2018 Policy Memorandum, present legal questions. Further, the agency action in

controversy, i.e., promulgating the August 2018 Policy Memorandum, is final, having taken

effect on August 9, 2018, (ECF No. 14-1 at 4). This matter is therefore “fit for judicial

decision.” Miller, 462 F.3d at 319.

       With respect to hardship, courts consider “the immediacy of the threat and the burden

imposed” on a plaintiff. Charter Fed. Sav. Bank v. Office of Thrift Supervision, 976 F.2d 203, 208–09

(4th Cir. 1992). Plaintiffs contend that, pursuant to the August 2018 Policy Memorandum,

Individual Plaintiffs face the immediate threat of the likely imposition of a reentry bar were they

to depart the United States. (ECF No. 16 at 9.) To that end, at the April 4 hearing, Defendants

argued that, without Individual Plaintiffs having left the country, this matter is not ripe. (Tr. at

42.) Under Defendants’ reasoning, however, were Individual Plaintiffs to wait until they

departed the United States, any bar to their reentry would not be subject to judicial review under




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     Case 1:18-cv-00891-LCB-JEP Document 45 Filed 05/03/19 Page 12 of 29
the doctrine of consular nonreviewability. 11 See Macena v. U.S. Citizenship & Immigration Servs.,

Civ. A. No. TDC-14-3464, 2015 WL 6738923, at *4 (D. Md. Nov. 2, 2015). While the injury

faced by a plaintiff “must be certainly impending,” “[w]e do not require parties to operate

beneath the sword of Damocles until the threatened harm actually befalls them.” Iowa League of

Cities v. E.P.A., 711 F.3d 844, 867 (8th Cir. 2013) (internal quotation marks omitted)).

Accordingly, the Court finds that based on Plaintiffs’ allegations, the implementation of the

August 2018 Policy Memorandum presents an immediate threat and burden on Individual

Plaintiffs. See Pashby v. Delia, 709 F.3d 307, 317 (4th Cir. 2013) (“For a claim to be ripe, it must

involve an administrative decision [that] has been formalized and its effects felt in a concrete

way by the challenging parties.’” (alteration in original) (internal quotation marks omitted)). The

Court therefore concludes that this matter is ripe for judicial review.

         Having determined that at least one plaintiff has standing to sue and that this matter is

ripe for adjudication, Defendants’ motion to dismiss is denied. The Court will next proceed to

consider whether entry of a preliminary injunction is warranted.

III.     PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION

         A.       Legal Standard

         A preliminary injunction is an extraordinary remedy involving the exercise of a very far-

reaching power that is only to be employed in limited circumstances. MicroStrategy Inc. v.

Motorola, Inc., 245 F.3d 335, 339 (4th Cir. 2001). Whether to grant a preliminary injunction is in

11 “Although the . . . Fourth Circuit has    yet to address the doctrine of ‘consular nonreviewability,’ other Courts of
Appeals have consistently held that a doctrine of ‘consular nonreviewability’ precludes courts from reviewing a
consular officer’s decision to grant or deny a visa to a foreign national.” Macena v. U.S. Citizenship & Immigration
Servs., Civ. A. No. TDC-14-3464, 2015 WL 6738923, at *4 (D. Md. Nov. 2, 2015) (internal citation omitted) (citing
cases). See United States ex rel. Knauff v. Shaughnessy, 338 U.S. 537, 543 (1950) (“[I]t is not within the province of any
court, unless expressly authorized by law, to review the determination of the political branch of the Government
to exclude a given alien.”).


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       Case 1:18-cv-00891-LCB-JEP Document 45 Filed 05/03/19 Page 13 of 29
the sound discretion of the court. Westmoreland Coal Co. v. Int’l Union, United Mine Workers of Am.,

910 F.2d 130, 135 (4th Cir. 1990). Courts generally issue preliminary injunctions in order to

prevent irreparable harm and to preserve the ability of the court to render meaningful relief on

the merits. 12 United States v. South Carolina, 720 F.3d 518, 524 (4th Cir. 2013). The party seeking

a preliminary injunction bears the burden of justifying such relief. Wagner v. Bd. of Educ., 335

F.3d 297, 302 (4th Cir. 2003).

        To prevail on a motion for preliminary injunction, a party must establish that: (1) he is

likely to succeed on the merits; (2) he is likely to suffer irreparable harm without preliminary

injunctive relief; (3) the balance of equities tips in his favor; and (4) an injunction is in the public

interest. Winter v. Nat. Res. Def. Council, Inc., 555 U.S. 7, 20 (2008). “[A] clear showing” of

likelihood of success on the merits and irreparable harm is required, in addition to satisfying the

other factors for a preliminary injunction to be entered. Real Truth About Obama, Inc. v. FEC,

575 F.3d 342, 346–47 (4th Cir. 2009), vacated on other grounds, 559 U.S. 1089 (2010).

                          1. Likelihood of Success on the Merits

        The Court concludes that Plaintiffs have demonstrated a likelihood of success on the

merits on their first and third causes of action: (i) that the August 2018 Policy Memorandum is

invalid for failure to observe the APA’s notice and comment procedures; and (ii) that the August

2018 Policy Memorandum substantively conflicts with the INA. 13



12“[T]he findings of fact and conclusions of law made by a court granting a preliminary injunction are not
binding” on the Court’s ultimate determination of the merits. Univ. of Texas v. Camenisch, 451 U.S. 390, 395 (1981).

13Beyond their jurisdictional arguments of standing and ripeness, Defendants failed to include any arguments in
their opposition brief which address the substantive merits, or lack thereof, of Plaintiffs’ claims. (See ECF No.
32.) The Court entered its Order on January 28, 2019 setting the hearing on the instant motions for March 26,
2019, (ECF No. 36), which was later changed to April 4, 2019, (ECF No. 43). At the April 4 hearing, counsel for


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      Case 1:18-cv-00891-LCB-JEP Document 45 Filed 05/03/19 Page 14 of 29
                                   a) Notice and Comment

         “The APA requires that all ‘rules’ be issued through a statutorily prescribed notice-and-

comment process.” Children’s Hosp. of the King’s Daughters, Inc. v. Azar, 896 F.3d 615, 619 (4th Cir.

2018) (citing 5 U.S.C. § 553(a)–(c)). However, the APA’s notice and comment requirements

only apply to “legislative” or “substantive” rules. Lincoln v. Vigil, 508 U.S. 182, 196 (1993) (citing

5 U.S.C. § 553(b)). The notice and comment procedures do not apply to: (i) interpretative rules;

(ii) general statements of policy; 14 or (iii) rules of agency organization, procedure, or practice. 15

Id. (citing 5 U.S.C. § 553(b)). Failure to comply with the APA’s notice and comment procedures

renders a “legislative” or “substantive” rule invalid. See Chen Zhou Chai v. Carroll, 48 F.3d 1331,

1341 n.9 (4th Cir. 1995) (explaining that if an interim rule promulgated by the Attorney General

“were a substantive rule, it would have been invalid from the date of its issuance for failure to

comply with the notice [and comment] requirements under 5 U.S.C. § 553”).

         The Fourth Circuit has instructed that “legislative[ ] rules . . . are rules issued by agencies

pursuant to statutory authority and which implement the statute.” Id. at 1340; accord Mendoza,

754 F.3d at 1023 (finding agency pronouncements legislative because they “endeavor[ ] to

implement the statute, the effect of a legislative rule” (alteration in original)). The Supreme

Court has “described a substantive rule—or a ‘legislative-type rule,’—as one ‘affecting individual

rights and obligations.’” Chrysler Corp. v. Brown, 441 U.S. 281, 302 (1979) (internal citation



Defendants stated that Defendants “would be willing to get to the more substantive point[s]” underlying the
instant suit “through an abbreviated briefing schedule or something along those lines.” (Tr. at 47.)

14 “A rule is
            a general statement of policy if it does not establish a binding norm and leaves agency officials free to
exercise their discretion.” Chen Zhou Chai v. Carroll, 48 F.3d 1331, 1341 (4th Cir. 1995).

15Rules of agency organization, procedure, or practice include rules that “do not alter the rights or interests of
parties.” Inova Alexandria Hosp. v. Shalala, 244 F.3d 342, 349 (4th Cir. 2001) (internal quotation marks omitted).


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       Case 1:18-cv-00891-LCB-JEP Document 45 Filed 05/03/19 Page 15 of 29
omitted) (quoting Morton v. Ruiz, 415 U.S. 199, 232, 236 (1974)). Further, “[a] rule is legislative if

it supplements a statute, adopts a new position inconsistent with existing regulations, or

otherwise effects a substantive change in existing law or policy.” Children’s Hosp., 896 F.3d at

620 (alteration in original) (quoting Mendoza, 754 F.3d at 1021). By contrast, “the critical feature

of interpretive rules is that they are issued by an agency to advise the public of the agency’s

construction of the statutes and rules which it administers.” Id. (internal quotation marks

omitted) (quoting Perez v. Mortg. Bankers Ass’n, 135 S. Ct. 1199, 1204 (2015)).

       Here, the August 2018 Policy Memorandum explicitly states that “to improve how

USCIS implements the unlawful presence ground of inadmissibility under [the] INA, . . . USCIS is

now changing its policy on how to calculate unlawful presence.” (ECF No. 14-1 at 4 (emphasis

added).) See Jerri’s Ceramic Arts, Inc. v. Consumer Prod. Safety Comm’n, 874 F.2d 205, 208 (4th Cir.

1989) (“In deciding whether [an agency statement] is an interpretative [or legislative] rule, this

court should consider the [agency’s] intent in authoring it, as ascertained by an examination of

the provision’s language, its context, and any available extrinsic evidence.” (internal quotation

marks omitted)). To effect this new change in policy, USCIS has inserted its revised definition

of unlawful presence, as reflected in the Policy Memorandum, into its USCIS Adjudicator’s

Field Manual. (ECF No. 14 ¶ 99; ECF No. 14-1 at 10.) The USCIS Adjudicator’s Field Manual,

in turn, states that “policy material is binding upon all employees of USCIS, unless or until it is

specifically superseded by other policy material. There are no exceptions to this rule.” (ECF

No. 14 ¶ 129 (citing USCIS Adjudicator’s Field Manual § 3.4(b)); see also id. ¶ 130.) Further, the

August 2018 Policy Memorandum bears reference number, “PM-602-1060.1,” (ECF No. 14-1 at

2), and according to the USCIS Adjudicator’s Field Manual, “[e]xamples of policy materials”



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     Case 1:18-cv-00891-LCB-JEP Document 45 Filed 05/03/19 Page 16 of 29
include: “Field and Administrative Manuals” and “Memoranda and cables from Headquarters

specifically designated as policy (bearing the ‘P’ suffix in the reference file number),” (ECF No.

14 ¶ 130 (quoting USCIS, USCIS Adjudicator’s Field Manual § 3.4(a))). Here, based on the explicit

language of the Policy Memorandum, its stated purpose, its designation as policy material as

described in the USCIS Adjudicator’s Field Manual, and its binding effect on adjudicators, the

Court finds that Plaintiffs are likely to succeed in showing that the August 2018 Policy

Memorandum is a legislative rule.

       For a legislative rule to be valid however, it must have been promulgated in compliance

with the APA’s notice and comment procedures. See 5 U.S.C. § 553. Plaintiffs allege that

USCIS failed to publish notice of its proposed change in policy in the Federal Register. (ECF

No. 14 ¶¶ 15, 186–92.) See 5 U.S.C. § 553(b) (“General notice of proposed rule making shall be

published in the Federal Register[.]” (emphasis added)). Plaintiffs also allege that although

Defendants issued a policy memorandum on May 10, 2018 proposing its policy changes for

calculating unlawful presence and providing a period for public comments, such memorandum

was not published in the Federal Register, as required under the APA. (ECF No. 14 ¶¶ 115–20).

Util. Solid Waste Activities Grp. v. EPA, 236 F.3d 749, 754 (D.C. Cir. 2001) (explaining that the

APA “requires notice of any proposed rule to be published in the Federal Register”); see also

Rodway v. U.S. Dep’t of Agric., 514 F.2d 809, 815 (D.C. Cir. 1975) (“Only publication in the Federal

Register meets the APA requirement of constructive notice.”). Further, while “[m]embers of the

public submitted comments in response to the May 10 notice,” Plaintiffs allege that the agency

“did not provide a reasoned response to those comments,” and, instead, issued a press release

stating that “[a]s a result of public engagement and stakeholder feedback, USCIS has adjusted



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     Case 1:18-cv-00891-LCB-JEP Document 45 Filed 05/03/19 Page 17 of 29
the unlawful presence policy to address a concern raised in the public’s comments.” (ECF No.

14 ¶ 117 (citing ECF No. 14-5).) See Perez, 135 S. Ct. at 1203 (“An agency must consider and

respond to significant comments received during the period for public comment.”); North

Carolina v. FAA, 957 F.2d 1125, 1135 (4th Cir. 1992) (stating that an agency must “reasonably

respond to those comments that raise significant problems”). The Court therefore concludes

that Plaintiffs have demonstrated a likelihood of success with respect to their claim that the

August 2018 Policy Memorandum was promulgated in violation of the APA’s notice and

comment procedures for rulemaking.

                                  b) Conflict with the INA

            The Court also finds that Plaintiffs will likely succeed on their claim that the August 2018

Memorandum conflicts with the INA. As outlined above, Plaintiffs’ Complaint alleges that

Congress first included the concept of “unlawful presence” as part of the INA by passing the

Illegal Immigration Reform and Immigrant Responsibility Act (the “IIRIRA”) in 1996. 16 (ECF

No. 14 ¶¶ 85–89); see Pub. L. No. 104-208, div. C, § 301(b)(1), 110 Stat. 3009-546, 3009-576

(1996) (enacting the current 8 U.S.C. § 1182(a)(9)). According to the Complaint, prior to the

enactment of IIRIRA, the INA contained “other related concepts,” namely, “unlawful status”

and “unlawful immigration status.” (ECF No. 14 ¶ 206.)

            Plaintiffs claim that the fact that Congress, in the IIRIRA, chose to create an entirely new

category of “unlawful presence,” rather than simply using the existing language of “unlawful




16   See supra at 2 n.4.



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         Case 1:18-cv-00891-LCB-JEP Document 45 Filed 05/03/19 Page 18 of 29
status,” means that the two categories cannot be the same. 17 (See id. ¶¶ 205–206.) “[W]hen the

legislature uses certain language in one part of the statute and different language in another, the

court assumes different meanings were intended.” Roberts v. Sea-Land Servs., Inc., 566 U.S. 93,

102 n.5 (2012) (quoting Sosa v. Alvarez-Machain, 542 U.S. 692, 711 n.9 (2004)); see also Cunningham

v. Scibana, 259 F.3d 303, 308 (4th Cir. 2001) (“Although the two terms are quite similar, we must

assume that Congress made a deliberate choice to use different language.”).

         Plaintiffs allege that by redefining “unlawful presence” to begin to accrue on the day that

a nonimmigrant’s lawful status lapses, the Policy Memorandum renders both concepts—

“unlawful presence” and “unlawful status”—essentially synonymous. (See ECF No. 14 ¶¶ 203–

211.) Thus, it appears likely that, based on the statutory text of the IIRIRA, unlawful presence

for a nonimmigrant alien does not begin to accrue until an adjudicator determines that the

individual is out of status. To the extent that the Policy Memorandum mandates a different start

date for calculating the accrual of unlawful presence, the Policy Memorandum may conflict with

the IIRIRA’s provision defining unlawful presence. The Court, therefore, concludes that

Plaintiffs have demonstrated a likelihood of success on their claim that the August 2018 Policy

Memorandum’s method for calculating unlawful presence conflicts with existing law and is

therefore invalid.

                           2. Irreparable Harm

         The Court must next consider whether Plaintiffs are “likely to suffer irreparable harm in

the absence of preliminary relief.” Winter, 555 U.S. at 20. Here, Individual Plaintiffs, Ye and Li,


17 Elsewhere in the IIRIRA Congress did employ unlawful status language. Pub. L. 104-208, div. C,
§ 330(a)(1)(B)(i), 110 Stat. at 3009-631 (1996) (referring to “any alien who . . . is not in lawful immigration status
in the United States.”).


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      Case 1:18-cv-00891-LCB-JEP Document 45 Filed 05/03/19 Page 19 of 29
allege that USCIS may maintain that their student status lapsed prior to August 9, 2018 and

August 24, 2018, respectively. (ECF No. 16-1 ¶ 10; ECF No. 16-2 ¶ 10.) Therefore, under the

terms of the August 2018 Policy Memorandum, as of February 6, 2019 and February 21, 2019,

respectively, Ye and Li appear to have exceeded 180 days of unlawful presence. 18 (See ECF No.

14-1 at 4–5.) The AFT likewise alleges that some of its members present in the United States on

F or J nonimmigrant visas may likely fall out of status and accrue unlawful presence without

their knowledge due to technical status violations. (See ECF No. 16-4 ¶¶ 6, 7, 12–13; see also

ECF No. 14 ¶¶ 48–49, 137–40, 149–50.) Pursuant to the terms of the Policy Memorandum,

such members will likely be forced to depart the United States, or be subject to a reentry bar if

they depart the United States without knowing that they have exceeded 180 days of unlawful

presence. Absent injunctive relief, upon departure from the United States, Ye and Li, as well as

AFT members on F or J nonimmigrant visas, will likely be subject to imposition of a three or

ten-year reentry bar before having an opportunity to cure any status violations. Moreover, once

the reentry bar has been imposed, judicial review will likely be precluded by the doctrine of

consular nonreviewability, which holds that “courts lack jurisdiction to review a consular

officer’s decision to grant or deny a visa.” Int’l Refugee Assistance Project v. Trump, 883 F.3d 233,

277–78 (4th Cir. 2018), vacated on other grounds, 138 S. Ct. 2710 (2018) (citing Saavedra Bruno v.

Albright, 197 F.3d 1153, 1159 (D.C. Cir. 1999)). The Court therefore finds that Plaintiffs are

likely to suffer irreparable harm absent entry of a preliminary injunction.




18 Aspreviously stated, under the INA, any individual who is “unlawfully present in the United States for a period
of more than 180 days but less than 1 year,” is barred from reentry into the United States for three years. 8 U.S.C.
§ 1182(a)(9)(B)(i)(I).


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        Case 1:18-cv-00891-LCB-JEP Document 45 Filed 05/03/19 Page 20 of 29
                          3. Balance of Equities and Public Interest

        “When a private party seeks injunctive relief against the government, the final two

injunction factors—the balance of equities and the public interest—generally call for weighing

the benefits to the private party from obtaining an injunction against the harms to the

government and the public from being enjoined.” Doe v. Mattis, 889 F.3d 745, 766 (D.C. Cir.

2018); accord, e.g., Drakes Bay Oyster Co. v. Jewell, 747 F.3d 1073, 1092 (9th Cir. 2014) (citing Nken

v. Holder, 556 U.S. 418, 435 (2009)) (“When the government is a party, these last two factors

merge.”).

        The Court finds that, under the circumstances of this case, the equities and public

interest factors weigh in favor of granting injunctive relief. An injunction will prevent the harms

outlined above for Plaintiffs, along with similarly situated individuals and institutions across the

country. The record does not reflect any countervailing harm to the government in maintaining

the status quo 19 by returning, for the duration of this lawsuit, to a policy that it voluntarily

followed for over twenty years. Further, given Plaintiffs’ demonstration of the likelihood of

success on their claim that the August 2018 Memorandum was adopted in violation of the APA,

“there is a substantial public interest in having [Defendants] abide by the federal laws that

govern their . . . operations.” League of Women Voters v. Newby, 838 F.3d 1, 12 (D.C. Cir. 2016)

(internal quotation marks omitted); Nat’l Ski Areas Ass’n v. U.S. Forest Serv., 910 F. Supp. 2d

1269, 1290 (D. Colo. 2012) (concluding that “there is a public interest in ensuring that federal



19A preliminary injunction is intended to serve the limited purpose of preserving the status quo during the
pendency of the litigation in order to prevent irreparable harm and to preserve the ability of the court to render
meaningful relief on the merits. South Carolina, 720 F.3d at 524. The Fourth Circuit “has defined the status quo as
the ‘last uncontested status between the parties which preceded the controversy.’” Pashby, 709 F.3d at 320
(quoting Aggarao v. MOL Ship Mgmt. Co., 675 F.3d 355, 378 (4th Cir. 2012)).


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      Case 1:18-cv-00891-LCB-JEP Document 45 Filed 05/03/19 Page 21 of 29
agencies adhere to the rule-making processes in the APA”). Based on the above, the Court

concludes that a preliminary injunction is warranted in this matter.

IV.         SCOPE OF INJUNCTIVE RELIEF
            Having concluded that, under the circumstances here, injunctive relief is warranted, the

Court must now determine the appropriate scope of the injunction. “Absent the clearest

command to the contrary from Congress, federal courts retain their equitable power to issue

injunctions in suits over which they have jurisdiction.” Califano v. Yamasaki, 442 U.S. 682, 705

(1979). Accordingly, “district courts have broad discretion when fashioning injunctive relief.”

Ostergren v. Cuccinelli, 615 F.3d 263, 288 (4th Cir. 2010). See Dixon v. Edwards, 290 F.3d 699, 710

(4th Cir. 2002) (“When a district court grants an injunction, the scope of such relief rests within

its sound discretion.”). Such relief “should be no more burdensome to the defendant than

necessary to provide complete relief to the plaintiffs.” Kentuckians for Commonwealth, Inc. v.

Riverburgh, 317 F.3d 425, 436 (4th Cir. 2003) (quoting Califano, 442 U.S. at 702). “[T]he scope of

injunctive relief is dictated by the extent of the violation established, not by the geographical

extent of the plaintiff class.” Califano, 442 U.S. at 702.

            Plaintiffs seek entry of “a preliminary injunction suspending the effectiveness, pending

resolution of this lawsuit, of the [August 2018 Policy Memorandum]” as well as “the

memorandum with the same title issued on May 10, 2018.” 20 (ECF No. 15 at 1.) Defendants

oppose Plaintiffs’ request for nationwide injunctive relief, characterizing such request as one

based on a “generalized grievance.” (ECF No. 42 at 3.) As Defendants correctly contend, the

Fourth Circuit has explained:


20   See supra at 2 n.5.


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         Case 1:18-cv-00891-LCB-JEP Document 45 Filed 05/03/19 Page 22 of 29
               [Courts] are woefully ill-suited . . . to adjudicate generalized
               grievances asking us to improve an agency’s performance or
               operations. In such a case, courts would be forced either to enter
               a disfavored “obey the law” injunction, or to engage in day-to-day
               oversight of the executive’s administrative practices. Both
               alternatives are foreclosed by the APA, and rightly so.

(Id. (quoting City of New York v. U.S. Dep’t of Defense, 913 F.3d 423, 431 (4th Cir. 2019))).

However, the Fourth Circuit also explained in City of New York that “[c]ourts are well-suited to

reviewing specific agency decisions, such as rulemakings, orders, or denials.” City of New York,

913 F.3d at 431 (emphasis added). Accordingly, as discussed above, the Court finds that

Plaintiffs are likely to succeed on its claims that the subject Policy Memorandum is a legislative

rule promulgated in violation of the APA’s rulemaking procedures, and that the Policy

Memorandum conflicts with the INA. Therefore, this Court has the power to review the

rulemaking at issue and, if appropriate, preliminarily enjoin Defendants’ challenged action.

       Defendants also argue that “Plaintiffs’ request for [nationwide] injunctive relief suffers

from gross overbreadth,” and “goes well beyond any circumstances in this case.” (ECF No. 42

at 5, 6.) In support of their contention, Defendants cite PBM Products, LLC v. Mead Johnson &

Co., 639 F.3d 111 (4th Cir. 2011) and Hayes v. North State Law Enforcement Officers Ass’n, 10 F.3d

207, 217 (4th Cir. 1993). (ECF No. 42 at 5). In PBM, an infant formula manufacturer brought

an action under the Lanham Act against a competitor for false advertising. 639 F.3d at 116.

Following a jury verdict in favor of the plaintiff manufacturer, the district court issued a

permanent injunction prohibiting the defendant’s use of certain false statements in all

advertising or promotional material going forward. Id. at 118–19. In concluding that the district

court’s entry of injunctive relief was proper, the Fourth Circuit explained that “the Lanham Act

vests district courts with the ‘power to grant injunctions’” when a violation of the Act has been


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     Case 1:18-cv-00891-LCB-JEP Document 45 Filed 05/03/19 Page 23 of 29
proven. Id. at 126 (quoting 15 U.S.C. § 1116(a)). Further, in upholding the breadth of the

district court’s injunction, the Fourth Circuit rejected the defendant’s argument that the district

court enjoined conduct “beyond the harm [plaintiff] sought to redress.” Id. at 126. The Fourth

Circuit explained that the injunction was not overbroad because it only addressed the specific

conduct that the district court found to be in violation of the Lanham Act. Id. at 128.

       Similarly, here, the APA vests the district courts with the power to “set aside agency

action” found to be unlawful. 5 U.S.C. § 706(2). Additionally, because this Court has

determined that Plaintiffs will likely succeed in their challenge to the lawfulness of the August

2018 Policy Memorandum, the relief would likely result in a nationwide injunction prohibiting

enforcement of the Policy Memorandum. See Nat’l Mining Ass’n v. U.S. Army Corps of Eng’rs, 145

F.3d 1399, 1401 (D.C. Cir. 1998) (affirming district court entry of a nationwide injunction upon

finding an agency rule invalid).

       In Hayes, the Fourth Circuit vacated an injunction issued by the district court which

“enjoin[ed] all use of racially based criteria by the City of Charlotte in its employment decisions.”

10 F.3d at 217. The Fourth Circuit found that the injunction was overbroad where “[t]he only

policy challenged . . . was the police department’s promotion policy [for] sergeants.” Id.

According to the Fourth Circuit, “[t]he injunction clearly went further than was required to

award full relief to the [p]laintiffs in [that] case” given that there was “no controversy with

regard to the entire City’s employment decisions.” Id.

       Hayes is distinguishable from the instant action in which Plaintiffs challenge the

lawfulness of the August 2018 Policy Memorandum. In this context, “[w]hen a reviewing court

determines that agency regulations are unlawful, the ordinary result is that the rules are



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     Case 1:18-cv-00891-LCB-JEP Document 45 Filed 05/03/19 Page 24 of 29
vacated—not that their application to the individual petitioners is proscribed.” Nat’l Mining

Ass’n, 145 F.3d at 1409 (alteration in original). Courts have, thus, found a nationwide injunction

appropriate in such cases. See, e.g., S.C. Coastal Conservation League v. Pruitt, 318 F. Supp. 3d 959,

968, 969–70 (D.S.C. 2018) (finding that the government failed to comply with APA

requirements in implementing agency rule and enjoining the rule nationwide); Texas v. United

States, 201 F. Supp. 3d 810, 835–36 (N.D. Tex. 2016) (concluding that because plaintiffs

demonstrated a likelihood of success on their claim that defendants’ written directives violated

APA requirements, an “injunction should apply nationwide”); Nat’l Fed’n of Indep. Bus. v. Perez,

Civ. A. No. 5:16-cv-00066-C, 2016 WL 3766121, at *46 (N.D. Tex. June 27, 2016) (entering

nationwide preliminary injunction and explaining that “[w]here a party brings a facial challenge

alleging that agency action violated APA procedures, a nationwide injunction is appropriate”).

Thus, because Plaintiffs have shown a likelihood of success on their claims that the August 2018

Policy Memorandum was promulgated in violation of the APA, and is therefore invalid, this

Court likewise concludes that a nationwide injunction is appropriate.

        Defendants further argue that, under “Article III standing principles,” injunctive relief

should be “limit[ed] . . . to the bounds of what is necessary to prevent injury to the Plaintiffs in

the case before the court.” (ECF No. 42 at 8.) However, “an injunction is not necessarily made

overbroad by extending the benefit of protection to persons other than prevailing parties in the

lawsuit—even if it is not a class action—if such breadth is necessary to give prevailing parties the relief to

which they are entitled.” Bresgal v. Brock, 843 F.2d 1163, 1170–71 (9th Cir. 1987). See id. at 1169

(“There is no general requirement that an injunction affect only the parties in the suit.”). Under

the APA, should Plaintiffs prevail on their underlying claims, the new policy set forth in the



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      Case 1:18-cv-00891-LCB-JEP Document 45 Filed 05/03/19 Page 25 of 29
Policy Memorandum will be set aside as unlawful as applied to anyone who would be subject to

the policy, including Plaintiffs.

       Defendants also argue that a nationwide injunction “would interfere with other courts’

ability to decide similar issues or cases with actual developed facts.” (ECF No. 42 at 9.) Yet,

“limiting the geographic scope of an injunction on an immigration enforcement policy ‘would

run afoul of the constitutional and statutory requirements for uniform immigration law and

policy.’” Regents of Univ. of California v. U.S. Dep’t of Homeland Sec., 279 F. Supp. 3d 1011, 1049

(N.D. Cal. 2018) (quoting Washington, 847 F.3d at 1167), aff’d, 908 F.3d 476 (9th Cir. 2018). See

Hawaii v. Trump, 878 F.3d 662, 701 (9th Cir. 2017), rev’d on other grounds, 138 S. Ct. 2392 (2018)

(“Because this case implicates immigration policy, a nationwide injunction was necessary to give

Plaintiffs a full expression of their rights.”). The Court therefore concludes that, under the

circumstances of this case, a nationwide preliminary injunction is appropriate. Defendants shall

be enjoined from enforcing the policy set forth in the August 2018 Policy Memorandum, in all

its applications nationwide, pending resolution of this lawsuit.

V.     PLAINTIFFS’ MOTION FOR PARTIAL SUMMARY JUDGMENT

       Plaintiffs also move for partial summary judgment, specifically related to the first and

third causes of action discussed above. (ECF No. 15 at 1–2.) In their response brief,

Defendants argued that “summary judgment at this time in an APA case—before any

administrative record has been compiled or proffered to the Plaintiffs—is wholly

inappropriate.” (ECF No. 32 at 9.) Defendants provided no further argument as to the merits




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     Case 1:18-cv-00891-LCB-JEP Document 45 Filed 05/03/19 Page 26 of 29
of the two claims which are the subject of Plaintiffs’ motion for partial summary judgment. 21 In

Plaintiffs’ briefing in support of their partial summary judgment motion, they argue, in part, that

“[t]he Court need not await the administrative record,” as the two claims on which they seek

partial summary judgment present “purely legal issues” which “have nothing to do with the

administrative record.” (ECF No. 33 at 12–13; see Tr. at 68–72.) Plaintiffs further argued that

given Defendants’ failure to address the merits of Plaintiffs’ first and third claims, Defendants

have “conceded the illegality of USCIS’s conduct for purposes of summary judgment.” (ECF

No. 33 at 6.) Notwithstanding Defendants’ failure to respond, motions for summary judgment,

particularly in the APA context, should not be granted in the absence of a full administrative

record. See Nieves v. McHugh, 111 F. Supp. 3d 667, 679–80 (E.D.N.C. 2015) (“[I]n an APA claim,

‘summary judgment becomes the mechanism for deciding, as a matter of law, whether the

agency action is supported by the administrative record and otherwise consistent with the APA

standard of review.’” (quoting Ohio Valley Envtl. Coal. v. Hurst, 604 F. Supp. 2d 860, 879 (S.D.W.

Va. 2009))); see also Atieh v. Riordan, 727 F.3d 73, 76 (1st Cir. 2013) (“Allowing the allegations of a

complaint to become the focal point of judicial review introduces an unnecessary and inevitably

unproductive step into the process. The relevant inquiry [of an APA claim] is—and must



21 At the April 4 hearing, counsel for Defendants explained the government’s failure to submit briefing in
response to Plaintiffs’ motion for partial summary judgment as follows:

                I think the circumstances of us at the point that we were responding to
                [Plaintiffs’] motion for summary judgment was such that the government had
                been shut down since late December and we had to file in early January while
                the government was still shut down. Simply put, it was simply very, very
                difficult to respond to everything in that short amount of time while -- and
                even compile any sort of record to adequately respond to [Plaintiffs’] motion
                for summary judgment.

(Tr. at 71.)


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       Case 1:18-cv-00891-LCB-JEP Document 45 Filed 05/03/19 Page 27 of 29
remain—not whether the facts set forth in a complaint state a plausible claim but, rather,

whether the administrative record sufficiently supports the agency’s [action].”).

       The Court will, therefore, permit the parties to file cross-motions for summary judgment

in accordance with an expedited briefing schedule set forth in a separate Order which shall be

filed contemporaneously with this Memorandum Opinion and Order.



                            [ORDER FOLLOWS ON NEXT PAGE]




                                              28


     Case 1:18-cv-00891-LCB-JEP Document 45 Filed 05/03/19 Page 28 of 29
       For the reasons outlined herein, the Court enters the following:

                                          ORDER

       IT IS THERFORE ORDERED that Plaintiffs’ Motion for Preliminary Injunction and

Partial Summary Judgment, (ECF No. 15), is GRANTED IN PART and DENIED IN PART.

The motion is GRANTED in that the Court hereby enjoins implementation, in all applications,

of the memorandum titled “Accrual of Unlawful Presence and F, J, and M Nonimmigrants,”

issued by Defendant United States Citizenship and Immigration Services on August 9, 2018 and

bearing the file number PM-602-1060.1, as well as the memorandum with the same title issued

on May 10, 2018 and bearing file number PM-602-1060, until further order of this Court. The

motion is DENIED WITHOUT PREJUDICE to the extent it seeks partial summary judgment

on the first and third causes of action alleged in Plaintiffs’ First Amended Complaint.

       IT IS FURTHER ORDERED that Defendants’ Motion to Dismiss, (ECF No. 30), is

hereby DENIED.

       IT IS FURTHER ORDERED that the parties shall engage in expedited summary

judgment briefing as set forth in a separate Order which shall be filed contemporaneously with

this Memorandum Opinion and Order.

       IT IS FURTHER ORDERED that Plaintiff’s Motion to Expand the Scope of the

Temporary Restraining Order, (ECF No. 39), is DENIED AS MOOT.

       This, the 3rd day of May, 2019.



                                           /s/ Loretta C. Biggs
                                           United States District Judge




                                              29


     Case 1:18-cv-00891-LCB-JEP Document 45 Filed 05/03/19 Page 29 of 29
